DISTRICT OF OREGON, ss:                 AFFIDAVIT OF

               Affidavit in Support of a Criminal Complaint and Arrest Warrant

        I,                         , being duly sworn, do hereby depose and state as follows:

                               Introduction and Agent Background

        1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have

been since April 2023. My current assignment is

                                                                                                    .

These include the investigation of violent crimes and major offenses such as threats to human

life, threats to national infrastructure, efforts to use violence in support of, or to counter a

particular ideology, acts of violence impacting interstate commerce, crimes against children, and

other violent criminal matters. My training and experience include a variety of investigative and

legal matters, including the topics of Fourth Amendment searches, the drafting criminal

complaints, and probable cause.

        2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

SAMUEL TATE BERRY for $VVDXOWLQJ D )HGHUDO 2IILFHU LQ YLRODWLRQ RI  86&   D 

and Failure to Comply with Official Signs and Directions, in violation of 41 CFR § 102-74.385.

As set forth below, there is probable cause to believe, and I do believe, that BERRY committed

Assaulting a Federal Officer, in violation of 18 U.S.C.  (a)(1) and Failure to Comply with

Official Signs and Directions in violation of 41 CFR § 102-74.385.

        3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge; information obtained from other individuals during my participation in this

investigation, including other law enforcement officers; interviews of witnesses; my review of


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records related to this investigation; communication with others who have knowledge of the

events and circumstances described herein; and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111(a)(1) makes it an offense to forcibly assault, resist, oppose,

impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in

or on account of the performance of official duties. Persons designated in 18 U.S.C. § 1114

include any officer or employee of the United States or of any agency in any branch of the

United States government while such officer or employee is engaged in or on account of the

performance of official duties, and any person assisting such an officer or employee in the

performance of official duties. Under 18 USC § 111(a), simple assault is a misdemeanor, but

where the assaultive acts involve physical contact with the victim, the offense is a felony

punishable by imprisonment up to 8 years.

       5.      41 CFR § 102-74.385 provides individuals must conform with official signs and

directions. Persons in and on federal property must at all times comply with official signs of a

prohibitory, regulatory or directory nature and with the lawful direction of Federal police officers

and other authorized individuals.

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                                  Statement of Probable Cause

                        June 2025: Protests at the Portland ICE Building

       6.      For over two weeks in June 2025, protesters have assembled in front of and

around the Immigration and Customs Enforcement (ICE) building located at 4310 SW Macadam

Avenue, Portland, Oregon. During daylight hours, some of the attendees at the demonstration

have harassed both ICE clients and employees by following them with cameras making

disparaging remarks and threatening statements, including stating that that they know where the

target lives or that they will find the target of the harassment. Many of these individuals dress in

all black clothing, commonly referred to as “black bloc.” Black bloc can prevent identification of

individual actors by authorities. After nightfall, the attendees generally become more aggressive,

damaging personal and government property, and throwing items toward federal law

enforcement officers working at the building. The violence toward officers has included

discharging pepper spray at officers as well as throwing rocks, trash, and bricks pulled from the

ICE facility’s driveway.

                 June 18, 2025: Protesters Erect Barricade on Federal Property

       7.      On June 18, 2025, at approximately 6:38 PM (all times hereinafter are Pacific

Standard Time), Federal Protective Service (FPS), Immigration and Customs Enforcement

(ICE), and Border Patrol officers were informed that approximately six official vehicles were in

route to 4310 SW Macadam Avenue, which required the facility’s gate to be opened for vehicles

to enter. A crowd of people with masks, goggles, and ad-hoc shields lined up in the driveway of

the ICE facility on federal property facing the facility vehicle gate. Using a Long-Range

Acoustic Device, FPS announced the following message to the crowd, “This is the Federal


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Protective Service. The facility is closed and not open to the public. Stay out of the area of the

driveway to allow for vehicular traffic. Remain on the sidewalk or across the street. Anyone, to

include the press, trespassing on federal property is subject to arrest.” Officers opened the gate

and advanced on the protestors at a slow rate to allow for compliance.

                           Federal Officers Move to Clear Trespassers

       8.      The gate was opened and a line of officers including members of FPS and

Customs and Border Protection Tactical Unit (BORTAC) advanced on the crowd to clear the

driveway for entering law enforcement vehicles. The crowd had organized themselves in a line

with shields facing the officers. When the two lines met in the driveway some of the trespassers

dispersed, but a portion of the trespassers pushed against the officers or held firm in place.

                                BERRY Assaults Federal Officer

       9.      As the line of protesters was attempting to hold in place to prevent access to the

driveway, an individual, later identified as SAMUEL TATE BERRY, struck a BORTAC Agent

(Adult Victim 1) over the head with a shield.

       10.     An FPS Inspector attempted to take BERRY into custody and was able to take

control of BERRY’s right arm. BERRY was flailing her legs in an attempt to resist lawful

detention and glanced the FPS Inspector (Adult Victim 2) in the throat with her foot. BERRY

was then taken into custody.

       11.     I observed video of the incident described in paragraphs 8 through 10. Below,

screen captures from the video show BERRY striking an officer with an improvised shield.




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                                            Conclusion

       12.     Based on the foregoing, I have probable cause to believe, and I do believe, that

SAMUEL TATE BERRY committed Assaulting a Federal Officer in violation of 18 U.S.C.

  D  and Failure to Comply with Official Signs and Directions in violation of 41 CFR §

102-74.385. I therefore request that the Court issue a criminal complaint and arrest warrant for

SAMUEL TATE BERRY.

       13.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by an Assistant United States Attorney, and the AUSA

advised me that in their opinion the affidavit and complaint are legally and factually sufficient to

establish probable cause to support the issuance of the requested criminal complaint and arrest

warrant.

                                       Request for Sealing

       14.     It is respectfully requested that the Court issue an order sealing, until further order

of the Court, all papers submitted in support of the requested criminal complaint and arrest

warrant. I believe that sealing these documents is necessary because the information to be seized

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